529 F.2d 998
    Melvin George BROWN, Petitioner,v.Robert F. PARRATT, Warden, Respondent.
    No. 75--1810.
    United States Court of Appeals,Eighth Circuit.
    Submitted Feb. 10, 1976.Decided Feb. 18, 1976.
    
      Appeal from the United States District Court for the District of Nebraska; Warren K. Urbom, Chief Judge.
      Ralph P. Bassett, Jr., Lincoln, Neb., for petitioner.
      Ralph H. Gillan, Asst. Atty. Gen., Paul L. Douglas, Atty. Gen., Lincoln, Neb., for respondent.
      Before LAY, HEANEY and STEPHENSON, Circuit Judges.
      PER CURIAM.
    
    
      1
      Melvin George Brown, a Nebraska state prisoner appeals from a denial of a petition for writ of habeas corpus.  Brown alleges that (1) he was denied a speedy trial by the state's failure to try him for armed robbery while he was incarcerated in a Canadian prison; (2) he was denied due process by admission of prejudicial evidence; and (3) he was denied the right of confrontation by admission of a res gestae statement.  The district court, The Honorable Warren Urbom presiding, fully reviewed the evidence and contentions raised.  After review of the entire proceedings, we affirm the denial of the writ on the basis of Judge Urbom's well reasoned opinion. 406 F.Supp. 1357 (D.Neb.1976).
    
    
      2
      Judgment affirmed.
    
    